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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     STACIA STINER, et al.,                           Case No. 17-cv-03962-HSG
                                   8                    Plaintiffs,                       AMENDED SCHEDULING ORDER
                                   9             v.

                                  10     BROOKDALE SENIOR LIVING, INC., et
                                         al.,
                                  11
                                                        Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          Having considered Plaintiffs’ administrative motion to modify the existing scheduling

                                  14   order (Dkt. No. 707) and Defendants’ response, see Dkt. Nos. 785 and 787, the Court finds that

                                  15   good cause exists to RESET the following deadlines pursuant to Federal Rule of Civil Procedure

                                  16   16 and Civil Local Rule 16-10:

                                  17
                                                                Event                                    Deadline
                                  18           Exchange of Opening Expert Reports             May 1, 2024
                                  19           Exchange of Transportation Expert Reports      May 15, 2024
                                               Close of Fact Discovery (follow-up only)       August 1, 2024
                                  20
                                               Exchange of Rebuttal Expert Reports            August 15, 2024
                                  21
                                               Close of Expert Discovery                      September 12, 2024
                                  22
                                               Dispositive Motion Hearing Deadline            October 17, 2024, at 2:00 p.m.
                                  23           Pretrial Conference                            January 7, 2025, at 3:00 p.m.
                                  24           Jury Trial (15 days)                           January 27, 2025, at 8:30 a.m.

                                  25

                                  26          Notwithstanding the extension to the fact discovery deadline, no new written discovery

                                  27   may be served. Moreover, moving forward, no further extensions to accommodate follow-up

                                  28   discovery will be granted.
                                         Case 4:17-cv-03962-HSG Document 789 Filed 05/20/24 Page 2 of 2




                                   1          These dates may only be altered by order of the Court and only upon a showing of good

                                   2   cause. The parties are directed to review and comply with this Court’s standing orders.

                                   3          This order TERMINATES Dkt. No. 785.

                                   4          IT IS SO ORDERED.

                                   5   Dated: May 20, 2024

                                   6                                                  ______________________________________
                                                                                      HAYWOOD S. GILLIAM, JR.
                                   7                                                  United States District Judge
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Northern District of California
 United States District Court




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